Case 2:25-cv-00816-WLH-JDE     Document 19-2   Filed 03/26/25   Page 1 of 2 Page ID
                                     #:153



   1
   2
   3
   4
   5
   6
   7
   8
   9                     UNITED STATES DISTRICT COURT
  10        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  11 LA GOLF PARTNERS, LLC, a                  Case No. 2:25-CV-00816-WLH-JDE
     Delaware limited liability company,
  12                                           [PROPOSED] ORDER GRANTING
                  Plaintiff,                   MOTION TO DISMISS OR STAY
  13                                           COMPLAINT
           v.
  14
     TGL GOLF HOLDINGS, LLC, a
  15 Delaware limited liability company; LA
     GOLF CLUB, INC., a Delaware
  16 corporation; and DOES 1-10, inclusive,
  17             Defendants.
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                      [PROPOSED] ORDER
Case 2:25-cv-00816-WLH-JDE     Document 19-2       Filed 03/26/25   Page 2 of 2 Page ID
                                     #:154



   1                               [PROPOSED] ORDER
   2        The Motion to Dismiss or Stay the Complaint, filed by Defendants TGL Golf
   3 Holdings, LLC and LA Golf Club, Inc., came for hearing before this Court on
   4 _____________ at _______________.
   5        After full consideration of Defendants’ Motion, the Memorandum of Points and
   6 Authorities, and all other papers and arguments presented, and good cause appearing,
   7 IT IS HEREBY ORDERED THAT the Motion is ______________.
   8
   9
  10   DATED: ____________                          ________________________
                                                    Honorable Wesley L. Hsu
  11
                                                    United States District Judge
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                               2
                                       [PROPOSED] ORDER
